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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


 TESSERA ADVANCED TECHNOLOGIES,
 INC.,
       Plaintiff,                                   Case No. 2:17-cv-00671-JRG

                                                    JURY TRIAL DEMANDED
        v.

 SAMSUNG ELECTRONICS CO., LTD. and
 SAMSUNG ELECTRONICS AMERICA,
 INC.,

        Defendants.


       P.R. 4-5 JOINT NOTICE REGARDING CLAIM CONSTRUCTION CHART

       Pursuant to Patent Rule 4-5(d) and the Court’s Docket Control Order (Dkt. 46), Plaintiff

Tessera Advanced Technologies, Inc. (“Tessera”) and Defendants Samsung Electronics Co., Ltd.

and Samsung Electronics America, Inc. (collectively, “Samsung”) hereby file this Joint Claim

Construction Chart. The parties have not agreed to any constructions at this time. Attached as

Appendix A are the claims with the disputed language in bold type, along with the parties’

respective proposed constructions, and a column for the Court’s construction. Appendix A

includes a separate table for each of the patents-in-suit. A simplified version grouping similar

terms is attached as Appendix B, which may be more helpful for the Court’s purposes.

The following terms are in dispute:

   •   ’298/’616 Patents

             o “external electrode” / “external electrode terminal” – ’298 patent claims 1, 8, 10;
               ’616 patent claims 1, 8, 9

             o “forming a second, thick conductive film selectively on the first, thin conductive
               film so as to fill up the first opening and the second opening” – ’616 patent claim 1
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         o “a protective film formed … having a property of repelling conductive material” /
           “forming a protective film having a property of repelling conductive material” –
           ’298 patent claim 8; ’616 patent claim 8




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Dated: August 31, 2018                         Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). Therefore, this document was served on all counsel who

are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed.

R. Civ. P. 5(d) and Local Rule CV-5(d) and (e), all other counsel of record not deemed to have

consented to electronic service were served with a true and correct copy of the foregoing by

email on this 31st day of August, 2018.

                                               /s/ Linda Smith
                                                 Linda Smith




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                                                    APPENDIX A


I.     U.S. PATENT NOS. 6,512,298 (CLAIMS 1-4 AND 8-10)

     ’298 Patent Claim          Disputed Terms   Plaintiff’s Proposed   Defendants’ Proposed   Court’s Construction
         Language                                   Construction            Construction

                                                        Claim 1
 1. A semiconductor device
 comprising:

 a semiconductor substrate
 provided with at least one
 semiconductor element;
 a first element electrode
 and a second element
 electrode formed on the
 semiconductor substrate
 and connected electrically
 to the semiconductor
 element;
 an insulating film formed
 so as to cover the first
 element electrode and the
 second element electrode;
 a first opening formed on
 the insulating film and
 exposing at least one
 portion of the first element
 electrode;
 a second opening formed
 on the insulating film and
 exposing at least one
 portion of the second
 element electrode;


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    ’298 Patent Claim          Disputed Terms         Plaintiff’s Proposed     Defendants’ Proposed       Court’s Construction
        Language                                         Construction              Construction

a first external electrode    “external electrode”   “electrode for            “portion of a conductive
formed immediately above                             connecting a package to   pattern configured to
the first element electrode                          external equipment”       contact an ‘external
and connected to the first                                                     electrode terminal’ (as
element electrode via the                                                      defined below) or
first opening;                                                                 external equipment”

a second external             “external electrode”   “electrode for            “portion of a conductive
electrode formed on the                              connecting the package    pattern configured to
insulating film; and                                 to external equipment”    contact an ‘external
                                                                               electrode terminal’ (as
                                                                               defined below) or
                                                                               external equipment”

a connecting wire formed      “external electrode”   “electrode for            “portion of a conductive
on the insulating film and                           connecting the package    pattern configured to
having one end connected                             to external equipment”    contact an ‘external
to the second element                                                          electrode terminal’ (as
electrode via the second                                                       defined below) or
opening and the other end                                                      external equipment”
connected to the second
external electrode.
                                                              Claim 2
2. The semiconductor
device of claim 1, wherein
the semiconductor
substrate is a
semiconductor wafer.
                                                              Claim 3



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    ’298 Patent Claim           Disputed Terms          Plaintiff’s Proposed    Defendants’ Proposed       Court’s Construction
        Language                                           Construction             Construction

3. The semiconductor
device of claim 1, wherein
the semiconductor
substrate is a chip obtained
by dividing a
semiconductor wafer.
                                                                Claim 4
4. The semiconductor
device of claim 1, wherein
the insulating film is made
of elastic insulating
material.
                                                                Claim 8
8. The semiconductor
device of claim 1 further
comprising:
a protective film formed       “external electrode”    “electrode for            “portion of a
so as to cover the first                               connecting the package   conductive pattern
external electrode, the                                to external equipment”   configured to contact an
second external electrode                                                       ‘external electrode
and the connecting                                                              terminal’ (as defined
wire and having a                                                               below) or external
property of repelling                                                           equipment”
conductive material;
                               “a protective film      Plain and ordinary       Indefinite
                               formed … having a       meaning, no
                               property of repelling   construction necessary
                               conductive material”




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    ’298 Patent Claim          Disputed Terms         Plaintiff’s Proposed    Defendants’ Proposed       Court’s Construction
        Language                                         Construction             Construction

a fourth opening formed on “external electrode”      “electrode for            “portion of a
the protective film and                              connecting the package   conductive pattern
exposing at least one                                to external equipment”   configured to contact an
portion of the first external                                                 ‘external electrode
electrode;                                                                    terminal’ (as defined
                                                                              below) or external
                                                                              equipment”

a fifth opening formed on     “external electrode”   “electrode for            “portion of a
the protective film and                              connecting the package   conductive pattern
exposing at least one                                to external equipment”   configured to contact an
portion of the second                                                         ‘external electrode
external electrode;                                                           terminal’ (as defined
                                                                              below) or external
                                                                              equipment”

a first external electrode    “external electrode”   “electrode for            “portion of a
terminal formed                                      connecting the package   conductive pattern
immediately above the first                          to external equipment”   configured to contact an
external electrode and                                                        ‘external electrode
connected to the first                                                        terminal’ (as defined
external electrode via the                                                    below) or external
fourth opening; and                                                           equipment”

                              “external electrode    “terminal on the outer   “metallic ball,
                              terminal”              surface of the package   conductive bump, or a
                                                     for connection to        portion of the
                                                     external equipment”      [first/second] external
                                                                              electrode, configured to



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    ’298 Patent Claim          Disputed Terms         Plaintiff’s Proposed    Defendants’ Proposed       Court’s Construction
        Language                                         Construction             Construction

                                                                              connect to external
                                                                              equipment”

a second external             “external electrode”   “electrode for            “portion of a
electrode terminal formed                            connecting the package   conductive pattern
immediately above the                                to external equipment”   configured to contact an
second external electrode                                                     ‘external electrode
and connected to the                                                          terminal’ (as defined
second external electrode                                                     below) or external
via the fifth opening.                                                        equipment”

                              “external electrode    “terminal on the outer   “metallic ball,
                              terminal”              surface of the package   conductive bump, or a
                                                     for connection to        portion of the
                                                     external equipment”      [first/second] external
                                                                              electrode, configured to
                                                                              connect to external
                                                                              equipment”

                                                              Claim 9
9. The semiconductor
device of claim 1, further
comprising a passivation
film covering the surface
of the semiconductor
substrate except the first
element electrode and the
second element electrode,
wherein the insulating film
is formed above the
passivation film.

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    ’298 Patent Claim           Disputed Terms        Plaintiff’s Proposed    Defendants’ Proposed       Court’s Construction
        Language                                         Construction             Construction

                                                               Claim 10
10. The semiconductor          “external electrode   “terminal on the outer   “metallic ball,
device of claim 8, wherein     terminal”             surface of the package   conductive bump, or a
the first external electrode                         for connection to        portion of the
terminal and the second                              external equipment”      [first/second] external
external electrode                                                            electrode, configured to
terminal are formed of                                                        connect to external
metallic balls.                                                               equipment”




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II.    U.S. PATENT NO. 6,852,616 (CLAIMS 1-6, 8, AND 9)

      ’616 Patent Claim         Disputed Terms   Plaintiff’s Proposed   Defendants’ Proposed   Court’s Construction
          Language                                  Construction            Construction

                                                        Claim 1
 1. A method for producing
 a semiconductor device
 comprising:

 a first step of forming on a
 semiconductor substrate on
 which at least one
 semiconductor element is
 provided a first element
 electrode and a second
 element electrode
 electrically connected to
 the semiconductor element;

 a second step of forming an
 insulating film so as to
 cover the first element
 electrode and the second
 element electrode;

 a third step of forming a
 first opening for exposing
 at least one portion of the
 first element electrode and
 a second opening for
 exposing at least one
 portion of the second
 element electrode by

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    ’616 Patent Claim           Disputed Terms           Plaintiff’s Proposed     Defendants’ Proposed       Court’s Construction
        Language                                            Construction              Construction

selectively removing the
insulating film;

a fourth step of forming
first substantially
continuous, thin conductive
film on the insulating film
and within the first and
second openings;

A fifth step of forming a     “forming a second,        Plain and ordinary        Indefinite as to “a
second, thick conductive      thick conductive          meaning, which            second, thick conductive
film selectively on the       film selectively on       includes:                 film selectively on the
first, thin conductive film   the first, thin                                     first, thin conductive
so as to fill up the first    conductive film so        “forming a second, thick film”
opening and the second        as to fill up the first   conductive film
opening and extend over       opening and second        selectively on the first, Plain and ordinary
portions of the first, thin   opening”                  thin conductive film so   meaning for the
conductive film between                                 as to plug or span the    remainder of the term
the first and second                                    first opening and second
openings; and                                           opening.”

a sixth step of patterning    “external electrode”      “electrode for             “portion of a
the first and second                                    connecting a package to   conductive pattern
conductive films by                                     external equipment”       configured to contact an
removing only an upper                                                            ‘external electrode
portion of the selectively                                                        terminal’ (as defined
formed second, thick                                                              below) or external
conductive film and                                                               equipment”
portions of the first, thin
conductive film uncovered

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    ’616 Patent Claim         Disputed Terms   Plaintiff’s Proposed   Defendants’ Proposed   Court’s Construction
        Language                                  Construction            Construction

by the second, thick
conductive film, thereby
forming a first external
electrode connected to the
first element electrode via
the first opening
immediately above the first
element electrode, forming
a second external
electrode and forming a
connecting wire having one
end connected to the
second element electrode
via the second opening and
the another end connected
to the second external
electrode on the insulating
film.

                                                      Claim 2
2. The method for
producing a semiconductor
device of claim 1, wherein
the semiconductor
substrate is a
semiconductor wafer; and

the method further
composes a step of
dividing the semiconductor


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    ’616 Patent Claim         Disputed Terms   Plaintiff’s Proposed   Defendants’ Proposed   Court’s Construction
        Language                                  Construction            Construction

wafer into chips after the
fourth step.

                                                      Claim 3
3. The method for
producing a semiconductor
device of claim 1, wherein
the semiconductor
substrate is obtained by
dividing a semiconductor
wafer into chips.

                                                      Claim 4
4. The method for
producing a semiconductor
device of claim 1, wherein
the insulating film is made
of elastic insulating
material.

                                                      Claim 5
5. The method for
producing a semiconductor
device of claim 1, wherein
the third step comprises a
step of forming the first
opening and the second
opening so that each wall
surface of the openings has
an inclination of less than
90° with respect to a

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    ’616 Patent Claim            Disputed Terms        Plaintiff’s Proposed    Defendants’ Proposed       Court’s Construction
        Language                                          Construction             Construction

surface of the
semiconductor substrate.

                                                               Claim 6
6. The method for
producing a semiconductor
device of claim 1, wherein
the third step comprises a
step of forming the first
opening and the second
opening so that at least
portions near the upper end
and near the lower end of
each wall surface of the
openings have an
inclination of less than 90°
with respect to a surface of
the semiconductor
substrate.

                                                                Claim 8
8. The method for              “external electrode”   “electrode for            “portion of a
producing a semiconductor                             connecting the package   conductive pattern
device of claim 1, further                            to external equipment”   configured to contact an
comprising a seventh step                                                      ‘external electrode
of forming a protective                                                        terminal’ (as defined
film having a property of                                                      below) or external
repelling conductive                                                           equipment”
material so as to cover the
first external electrode,      “forming a             Plain and ordinary       Indefinite
the second external            protective film        meaning, no

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    ’616 Patent Claim           Disputed Terms         Plaintiff’s Proposed     Defendants’ Proposed       Court’s Construction
        Language                                          Construction              Construction

electrode and the             having a property of    construction necessary.
connecting wire and then      repelling conductive
selectively removing the      material”
protective film to form a
fourth opening for
exposing at least one
portion of the first external
electrode and a fifth
opening for exposing at
least one portion of the
second external electrode,
after the sixth step.

                                                                Claim 9
9. The method for              “external electrode”   “electrode for             “portion of a
producing a semiconductor                             connecting the package    conductive pattern
device of claim 8, wherein                            to external equipment”    configured to contact an
the seventh step comprises                                                      ‘external electrode
a step of forming a first                                                       terminal’ (as defined
external electrode                                                              below) or external
terminal connected to the                                                       equipment”
first external electrode via
the fourth opening             “external electrode    “terminal on the outer    “metallic ball,
immediately above the first    terminal”              surface of the package    conductive bump, or a
external electrode and                                for connection to         portion of the
forming a second external                             external equipment”       [first/second] external
electrode terminal                                                              electrode, configured to
connected to the second                                                         connect to external
external electrode via the                                                      equipment”
fifth opening immediately


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   ’616 Patent Claim        Disputed Terms   Plaintiff’s Proposed   Defendants’ Proposed   Court’s Construction
       Language                                 Construction            Construction

above the second external
electrode.




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                          APPENDIX B




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                                                                  APPENDIX B


I.     U.S. PATENT NOS. 6,512,298 (CLAIMS 1-4 AND 8-10) AND 6,852,616 (CLAIMS 1-6, 8, AND 9)

      Claim Terms                  Plaintiff’s Proposed                   Defendants’ Proposed            Court’s Construction
     From ’298/’616                   Constructions                          Constructions
        Patents

 “external electrode”        “electrode for connecting a            “portion of a conductive pattern
                             package to external equipment”         configured to contact an ‘external
 ’298 patent claims 1, 8,                                           electrode terminal’ (as defined
 12-13                                                              below) or external equipment”

 ’616 patent claims 1, 8,
 9

 “external electrode         “terminal on the outer surface of      “metallic ball, conductive bump, or
 terminal”                   the package for connection to          a portion of the [first/second]
                             external equipment”                    external electrode, configured to
 ’298 patent claims 8,                                              connect to external equipment”
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 ’616 patent claim 9

 “forming a second,          Plain and ordinary meaning,            Indefinite as to “a second, thick
 thick conductive film       which includes:                        conductive film selectively on the
 selectively on the first,                                          first, thin conductive film”
 thin conductive film so     “forming a second, thick
 as to fill up the first     conductive film selectively on         Plain and ordinary meaning for the
 opening and the second      the first, thin conductive film so     remainder of the term
 opening”                    as to plug or span the first
                             opening and second opening.”
 ’616 patent claim 1

 “a protective film          Plain and ordinary meaning, no         Indefinite
 formed … having a           construction necessary
 property of repelling
                                                                      B-2
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                                                  APPENDIX B


    Claim Terms            Plaintiff’s Proposed         Defendants’ Proposed         Court’s Construction
   From ’298/’616             Constructions                Constructions
      Patents

conductive material” /
“forming a protective
film having a property
of repelling conductive
material”

’298 patent claim 8

’616 patent claim 8




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